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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                 )
                                           )
                  Plaintiff,               )   No. 3:10-cv-4084-JAP-DEA
      v.                                   )
                                           )
 ROBERT L. GAVETT, Sr., et al.             )
                                           )
                    Defendants.            )

                    MEMORANDUM IN SUPPORT OF THE
             UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

      The United States files this memorandum in support of its motion for summary

 judgment as follows:




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                                PRELIMINARY STATEMENT

         Defendant Robert L. Gavett, Sr. (“Taxpayer”) owes federal income taxes for the

 years 1980 to 1987 in the amount of $460,546 as of August 1, 2010. The United States

 obtained a judgment against the Taxpayer in 2004 for these taxes.

         The United States filed the present suit to foreclose on federal tax liens and

 judgment liens relating to the tax liabilities against the real property located at

 26 Steinmetz Road, Hillsborough, New Jersey (“Real Property”).

                         STATEMENT OF MATERIAL FACTS
                   AS TO WHICH THERE EXISTS NO GENUINE ISSUE

         The United States asserts that there are no genuine issues regarding the following

 material facts:

         A.     Tax Liability and Liens.

         1. A delegate of the Secretary of the Treasury of the United States made various

 individual income tax, penalty, and interest assessments against the Taxpayer for tax

 liabilities, penalties, and interest, for the years 1980 to 1987 as follows:

  Tax Period                   Date of Initial           Amount of Initial
                               Assessments               Tax Assessments
  1980                         3/14/1994                                 $3,628
  1981                         3/14/1994                                 $4,153
  1982                         3/14/1994                                 $5,178
  1983                         3/14/1994                                 $4,776
  1984                         3/14/1994                                 $5,155
  1985                         3/14/1994                                 $5,903


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  Tax Period                   Date of Initial          Amount of Initial
                               Assessments              Tax Assessments
  1986                         3/14/1994                                 $3,423
  1987                         3/14/1994                                 $8,764

 (Ex. 101, Certified Transcripts of Account.)

         2. Federal tax liens arose on the dates of each assessment described in paragraph

 1, and attached to all the Taxpayer’s property and rights to property, including any

 after-acquired interest in the property. See 26 U.S.C. §§ 6321, 6322.

         3. On September 20, 2004, the United States District Court for the Eastern District

 of Pennsylvania entered judgment in favor of the United States and against the

 Taxpayer in the amount of $225,166.55 relating to federal income tax, penalties, and

 interest for the years 1980 to 1987, plus statutory additions that have and will accrue

 from March 1, 1999 until the date of payment. (Ex. 102, Certified copy of Abstract of

 Judgment.)

         4. The United States filed an abstract of judgment with the Clerk of Somerset

 County on or about August 14, 2007. (Id.)




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       B.      Ownership of the Real Property.

       5. On or about February 9, 1977, the Taxpayer and his wife acquired an interest in

 the Real Property. (Ex. 103, Certified copy of 1977 Deed.)

       6. The federal tax liens described in paragraph 2 and the judgment liens

 described in paragraph 4 attached to the Real Property. 26 U.S.C. §§ 6321-6323;

 28 U.S.C. § 3201.

       7. On or about December 14, 1995, the Taxpayer’s wife died, and the Taxpayer

 became the sole owner of the Real Property. (Ex. 104, Certified copy of Certificate of

 Death.)

       8. On or about February 21, 1996, the Taxpayer filed a “correction of deed”

 regarding the Real Property. (Ex. 105, Certified copy of 1996 Deed.)

       9. Defendants Robert L. Gavett, Jr. and Sheryl Gavett assert they jointly own the

 Real Property. (Docket no. 6, Taxpayer’s Ans., Ex. D.) Yet when a search of the Clerk of

 Somerset County’s deed records is performed, there are no results for Sheryl Gavett.

 (Ex. 106.)

                                        ARGUMENT

       “If any person liable to pay any tax neglects or refuses to pay the same after

 demand, the amount . . . shall be a lien in favor of the United States upon all property

 and rights to property, whether real or personal, belonging to such person.” 26 U.S.C.

 § 6321; United States v. Nat’l Bank of Commerce, 472 U.S. 713, 719 (1985). The United

 States is then entitled to foreclose its lien upon a taxpayer’s property if the taxpayer


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 “refuses or neglects” to pay the tax. 26 U.S.C. § 7403(a); United States v. Rodgers, 461 U.S.

 677, 692 (1983). If the United States seeks to foreclose, the Court must “finally

 determine the merits of all claims to and liens upon the property.” 26 U.S.C. § 7403(c).

 Once it makes this determination, the Court should order the sale of the property. Id.

       I.      The United States May Foreclose on its Liens.

       The United States may foreclose its federal tax lien and judgment lien against the

 Real Property. The Taxpayer has refused and neglected to pay his income taxes for the

 years 1980 to 1987. The federal tax liens arose when these taxes was assessed on March

 14, 1994. 26 U.S.C. §§ 6321, 6322.

       The federal tax liens attached to the Real Property. A federal tax lien reaches all

 of a taxpayer’s interest in property at the time the lien arises and as well as any interest

 in after-acquired property. Glass City Bank v. United States, 326 U.S. 265, 267(1945); In re

 Atlantic Bus. & Community Dev. Corp., 994 F.2d 1069, 1072 (3d Cir. 1993). Here the tax

 liens attached to the entire Real Property because the Taxpayer was the sole owner after

 his wife’s death.1

       The Court should determine that the United States’ tax and judgment liens are

 valid, that they encumber the Real Property, order that the liens be foreclosed, and

 decree the sale of the Real Property. See 26 U.S.C. § 7403(c).


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           Additionally, the United States’ judicial lien attaches to the Real Property to the
 extent the Taxpayer still owns the property. A judgment lien arises when the United
 States files an abstract of judgment. 28 U.S.C. § 3201(a). The judicial lien reaches all of a
 judgment lien creditor’s real property. Id. at §§ 3201(a), (b). Here the United States filed
 an abstract of judgment on August 14, 2006. (Ex. 102.)

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       II.     The United States is Entitled to All the Proceeds of
               the Sale.

       Upon the sale of the Real Property, the proceeds should be distributed first to the

 United States to pay the federal income tax liabilities underlying the tax liens and the

 sale expenses. The Taxpayer owes $460,546 in income taxes for the years 1980 to 1987 as

 of August 1, 2010. (Ex. 107.) Because the Taxpayer’s Answer contends that Defendants

 Robert Gavett, Jr. and Sheryl Gavett are the current owners of the Real Property, any

 remaining proceeds from the sale after the United States’ tax and judgment liens are

 satisfied should be distributed to Defendants Robert Gavett, Jr. and Sheryl Gavett.

       A proposed order of sale is attached.




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                                    CONCLUSION

      For the forgoing reasons, the Court should grant the United States’ Motion for

 Summary Judgment enter the proposed Order and Order of Sale.



 Dated: October 25, 2010
                                         Respectfully submitted,

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